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 8                                   UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                         No. 2:08-cr-00093 KJM
12                      Plaintiff,
13          v.                                         ORDER
14   LEONARD BERNOT,
15                      Defendant.
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18                  On December 15, 2014, the court sentenced the defendant, Mr. Bernot, to eighteen

19   months in the custody of the Bureau of Prisons, a $100 special assessment, three years of

20   supervised release, and a fine of $20,000. Judgment and Commitment, ECF No. 1142. On

21   December 19, 2014, the defendant filed a motion to correct the sentence under Rule 35(a) of the

22   Federal Rules of Criminal Procedure, asserting the court committed clear error in imposing the

23   $20,000 fine. Mot. Am. Judgment, ECF No. 1144. The United States opposes the motion. ECF

24   No. 1156.

25                  Rule 35(a) of the Federal Rules of Criminal Procedure provides, “Within 14 days

26   after sentencing, the court may correct a sentence that resulted from arithmetical, technical, or

27   other clear error.” As of the date of this order, the court retains jurisdiction to make any

28   correction provided for by Rule 35(a). The Rule “‘authorizes the district court to correct obvious
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      Case 2:08-cr-00093-KJM Document 1178 Filed 12/29/14 Page 2 of 2


 1   sentencing errors.’” United States v. Rai, No. 06-058, 2010 WL 3954566, at *1 (E.D. Cal. Oct. 8,
 2   2010) (quoting United States v. Portin, 20 F.3d 1028, 1030 (9th Cir.1994)). It “does not
 3   empower the district court to reach legal sentences previously imposed.” United States v. Lewis,
 4   862 F.2d 748, 750 (9th Cir. 1988). See also United States v. Barragan–Mendoza, 174 F.3d 1024,
 5   1028 (9th Cir. 1999) (“Rule 35(c) clearly is intended to allow a district court to modify a sentence
 6   only in very limited instances and not merely to reconsider sentencing issues.” (emphasis in
 7   original) (internal quotation marks omitted)).
 8                  Having carefully considered the defendant’s motion, and relevant case authority
 9   including the authority cited by the parties, the court concludes this is not one of the limited
10   circumstances in which it is able to modify the sentence as defendant requests. Even if the court
11   were inclined to reconsider imposition of the fine, given the additional details provided in the
12   defense motion but not presented at the time of sentencing, it cannot find that the sentence
13   “resulted from arithmetical, technical, or other clear error.”
14                  Defendant’s motion is denied.
15                  IT IS SO ORDERED.
16   DATED: December 29, 2014.
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                                                  UNITED STATES DISTRICT JUDGE
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